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                                   UNITED STATES DISTRICT COURT
                                    DISTRICT OF MASSACHUSETTS
CRIMINAL No.
18-10013-RGS
                                     UNITED STATES OF AMERICA
                                                   v.
                             GARY P. DECICCO and PAMELA M. AVEDISIAN
                                      INTERIM STATUS REPORT
                                         September 13, 2019



DEIN, M.J.
       An Interim Status Conference pursuant to Local Rule 116.5(b) was held before this court on

September 13, 2019. Based on that Conference, this court enters the following report and orders to wit:

   1. Ms. Avedisian recently retained new counsel. The government is still responding to requests for
      discovery by Mr. DeCicco.

   2. The government does not expect to produce additional discovery except in response to specific
      requests and in accordance with the Local Rules.

   3. Any discovery motions shall be filed by September 20, 2019. The date for filing dispositive
      motions shall be set at the next status conference.

   4. The government will produce its expert discovery no less than 60 days prior to trial. The
      defendants will provide his expert disclosures no later than 30 days prior to trial.

   5. This court finds and concludes, pursuant to the provisions of 18 U.S.C. § 3161(h)(7)(A) and
      Section 5(b)(7)(B) of the Plan for Prompt Disposition of Criminal Cases in the United States
      District Court for the District of Massachusetts (Statement of Time Limits Adopted by the Court
      and Procedures for Implementing Them, Effective December 2008) that the defendant requires
      additional time for the preparation of an effective defense, including time for review of the
      evidence, preparation of motions, and consideration of alternatives concerning how best to
      proceed with this matter, and that the interests of justice outweighs the best interests of the
      public and the defendants for a trial within seventy days of the return of an indictment.
      Accordingly, it is hereby ordered that the Clerk of this Court enter excludable time for the period
      of September 13, 2019 through September 24, 2019, that being the period between the
      expiration of the last order of excludable time and the next status conference.
       Based on the prior orders of the court dated January 16, March 15, May 10, July 18, August 16,
       September 17, October 16, November 29, December 21, 2018, January 23, March 15, 2019, May
       14, 2019, June 4, 2019, July 3, 2019, August 13, 2019 and the order entered contemporaneously
       herewith, as of September 24, 2019 there will be zero (0) days of non-excludable time under the
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    Speedy Trial Act and seventy (70) days will remain under the Speedy Trial Act in which this case
    must be tried.
6. A Final Status Conference has been scheduled for September 24, 2019 at 9:30 a.m. Counsel for
   the respective parties shall file a Joint Memorandum before the close of business no less than
   THREE business days prior to that Status Conference.
7. It is too early to determine if a trial will be necessary.
                                                 / s / Judith Gail Dein
                                               JUDITH GAIL DEIN
                                               UNITED STATES MAGISTRATE JUDGE




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